        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 1 of 22



     Guido Saveri (223 49) guido@saveri.com
 I   R. Alexander Saveri (173102) rick@saveri.com
     Geoffrey C. Rushing (1269 l0) grushing@saveri. com
 2   Cadio Zirpoli (l 79 1 08) cadio@saveri.com
     SAVERI & SAVERI, INC.
 J   706 Sansome Street
     San Francisco, CA 9411I
 4   Telephone: (415) 217 -6810
     Facsimile: (415) 217 -6813
 5
     Interim Lead Counsel for the Direct Purchaser Plaintiffs
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
I2                                                   MDL No. 1917
     This Document Relates
13
                                                     DIRECT PURCHASER PLAINTIFFS'
                                                     MEMORANDUM OF POINTS AND
14                                                   AUTHORITIES IN SUPPORT OF MOTION
     ALL DIRECT PURCHASER ACTIONS
                                                     FOR F'INAL APPROVAL OF CLASS
l5                                                   ACTION SETTLEMENT WITH
                                                     PANASONIC DEF'ENDANTS
r6
                                                     Date: December 17,2012
I7                                                   Time: 10:00 a.m.
                                                     Judge: Honorable Charles A. Legge (Ret.)
18
                                                     JAMS: Two Embarcadero Center, Suite 1500
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       DIRECT PURCHASER PLAINTIFFS' MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                           WITH PANASONIC: Master File No. CV-07-5944-SC
       Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 2 of 22




 I                                       TABLE OF CONTENTS
 2   TABLE OF CONTENTS.............                                                                     ..............i

     TABLE OF AUTHORITIES
 a
 J                                                                                              ................... ii

 4   MEMORANDUM OF POINTS AND AUTHORITIES........                                         ........................1

 5   I. INTRODUCTION                                                                                        .........1

 6   il. FACTUAL AND PROCEDURAL HISTORY.........                                                          ...........I
 7   III. THE TERMS OF THE SETTLEMENT..........                                                ....................6

 8   IV. ARGUMENT...............                                                               ....................7

 9       A. The Class Action Settlement Class.                                                        ................7

10     B. The Court-Approved Notice Program Satisfies Due Process and Has Been Fully
          Implemented..............                                                            ....................8
11
       C. The Settlement Is "Fair, Adequate And Reasonable" and Should Be Granted Final
T2        Approval..                                                                  ....................9
13        1. The Settlement Provides Considerable Relief For The Class.           ..... ....... ... .. 0
                                                                                          .      ..         ..     1


t4        2. The Class Members' Positive Reaction Favors Final Approval. .........             .........11

15        3. The Settlement Eliminates Significant Risk To The Class.                           ........12

I6        4. The Settlement Is the Product of Arm-Length Negotiations Between the Parties and The
              Recommendation of Experienced Counsel Favors        Approval.               ......................13
17
       D. The Plan of Allocation Is "Fair, Adequate and Reasonable" and Therefore Should Be
t8        Approved.                                                                            ..................I4
l9   V. OBJECTIONS BY CLASS MEMBERS...............                                                     ............15

20   vr. EXCLUSrONS............                                                               ...................15

21   vII. CONCLUSION..........                                                                ....................16
22

ZJ
^a


24

25

26

27

28
                                                      i
      DIRECT PURCHASER PLAINTIFFS' MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                          WITH PANASONIC: Master File No. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 3 of 22



 I                                          TABLE OF AUTHORITIES
 ¿   CASES
 a
     Agrettiv. ANR Freight System, Inc.,
 J      982F.2d242 (7th Cir. 1992).                                                      ............ I I

 4   Arnold v. Arizona Department of Public Safrty,
        No. CV-01-1463-PHX-LO4,2006 V/L 2168637 (D. Ariz. July 31,2006)                 .............12
 5
     Bellows v. NCO Finqncial System,
 6       2008 U.S. Dist. LEXIS 103525 (S.D. Cal. Dec.2,2008)                                    .....13

     Bynumv. District of Columbia,
        412F. Supp. 2d73 (D.D.C. 2006)                                          ..,...................12
 8
     Byrd v. Civil Service Commission,
 9      459 U.S. 1217 (1983)... ............                                                 ..........9
10   Churchill Village L.L.C. v. General Electric,
       361 F.3d 566 (9th Cir.2004).                                                      ....8, 9, 1l
ll
     Class Plaintiffs v. City of Seattle,
t2       95s F.2d 1268 (gthCir.     1992).                                                 ............9
13   Ellis v. Naval Air Rework Facility,
          87 F.R.D. 15 (N.D. Cal. 1980)                                                    ..........10
T4
     Fisher Brothers v. Mueller Brass Co.,
l5       630 F. Supp. 493 (E.D. Pa. 1985)                                      .......................11
t6   Hanlon v. Chrysler Corp.,
        150 F.3d 1011 (9th Cir. 1988).                                                     9, 10, 11
17
     In re "Agent Orange" Product Liability Litigation,
18       818 F.2d r4s (2d Cir. 1987).                                                   ...............8
T9   In re Austrian and German Bank Holocaust Litigation,
         80 F. Supp.2d 164 (S.D.N.Y. 2000)........                                        ...........l3
20
     In re Citric Acid Antitrust Litigation,
2l       145 F. Supp.2dII52 (N.D. Cal.2001)                                            ..............14
22   In re Computron Software, Inc.,
         6 F. Supp.2d 313 (D.N.J. 1998)                                                      ........14
¿J
     In re Corrugated Container Antitrust Litigøtion,
24       Case No. M.D.L. 310, 1981 WL 2093 (S.D. Tex. June 4, 1981).........    .....................1 I

25   In re Fleet/Norstar Securities Litigation,
         935 F. Supp. 99 (D.R.L t996)........                                   .....................r2
26
     In re Linerboard Antitrust Litigation,
27       292F. Supp.2d631 (8.D. Pa.2003)                                           ..................11

28
                                                     ii
       DIRECT PURCHASER PLAINTIFFS' MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                           WITH PANASONIC; MAStCT FiIC NO. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 4 of 22



     In re Lloyds' American Trust Fund Litigation,
 I       No. 96 Civ.l262 RWS, 2002WL31663577 (S.D.N.Y. Nov. 26, 2002)........           ..........15

 2   In re Mid-Atlantic Toyota Antitrust Litigation,
 a
         564 F. Supp. 1379 (D. Md. 1983)                                    .......................1 I
 J
     In re NASDAQ Market-Makers Antitrust Litigation,
 4        187 F.R.D. 46s (S.D.N.Y. 1998)                                                    ......12

 5   In re PaineWebber Ltd. Partnerships Litigation,
          171 F.R.D. 104 (S.D.N.Y.1997)                                                     ......1s
 6
     In re Patriot American Hospitality Inc. Securities Litigation,
 7       No. MDL C-00-1300 VRW,2005 WL 3801594 (1.ü.D. Cal. Nov. 30,2005)              ...........12

 8   In re Sumítomo Copper Litigation,
         189 F.R.D. 274 (S.D.N.Y. 1999)                                                     ......12
 9
     In re Visa Check/Mastermoney Antitrust Litigation,
10       297 F. Supp. 2d s03 (E.D.N.Y. 2003)........                                     ......... 13

1l   In re Vitamins Antitrust Litigation,
         No. 99-197 TFH, 2000 WL 1737867 (D.D,C. Mar. 31, 2000)                    ...............15
T2
     M. Berenson Co. v. Faneuil Høll Mqrketplace, Inc.,
13      671F. Supp.819 (D. Mass. 1987)                                      ......................10

I4   Mangone v. First USA Bank,
        206 F.R.D. 222 (5.D. ilI. 2001)...
l5
     Marisol A. ex rel. Forbes v. Giuliani,
r6      r8s F.R.D. 152 (S.D.N.Y. 1999)                                                      ......13

l7   Mendoza v. Tucson School District No. I,
        623F.2d 1338 (9th Ctu. 1980).                                                   ............8
18
     National Rural Telecommunications Cooperative v. DIRECTV, Inc.,
19      221 F.R.D. 523 (C.D. CaL2004)                                                        72,13

20   Of/ìcers for Justice v. Civil Service Commission,
        688 F.2d 615 (9th Cir. 1982).                                                 ..9, 10, 13
2T
     Pallas v. Pacilic Bell.
22       No. C-89-2373 DLJ.l999 V/L 1209495 CN.D. Cal.
23   Petrovic v. Amoco Oil Co.,
        200 F.3d 1140 (8th Cir.   1999).                                                ............8
24
     Rutter & Wilbanks Corp. v. Shell Oil Co.,
25      314 F.3d 1180 (l0th   Cir.2002).                                                  ........13

26   Torrisi v. Tucson Electric Power Co.,
        8 F.3d 1370 (gth Cir. 1993).                                                ..........8, 10
27
     Utility Reform Project v. Bonneville Power Administration,
28       86eF.2d437 (ethcir.    1e8e).                                                ............10
                                                         iii
       DIRECT PURCHASER PLAINTIFFS' MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                           WITH PANASONIC: Master File No. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 5 of 22




 1   Van Bronkhorst v. Safeco Corp.,

 2
        529 F .2d 943 (gth Cir. 197 6)   .            ..................                      .. ..... .. ... 1 0


     Wøl-Mart Stores, Inc. v. Visa U.S.A,, Inc.,
 J     396 F.3d 96 (2d Cir.   2005).                                                       ...............12
 4   Wilkerson v. Martin Marietta Corp.,

 5
         171 F.R.D. 273 (D.CoIo. 1997).......... ..   .                                         ..........13

     STATUTES
 6
                            15...........
     Clayton Act, 15 U.S.C. $                                                                    .......1,2
 7
     ShermanAct, 15 U.S.C. $ l ...........                                                        ..........1
 8
     OTHER AUTHORITIES
 9
     4 Albert Conte & Herbert Newberg, Newberg on Class Actions $$ I L22, et seq. (4th ed. 2002).....7
10
     RULES
1l
                                 11...........
     Federal Rule of Civil Procedure                                                      .,................3
t2
     Federal Rule of Civil Procedure23...........                                         ..............1. 8
13

t4
15

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                                                          iv
       DIRECT PURCHASER PLAINTIFFS' MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                           WITH PANASONICI Master File No. CV-07-5944-SC
           Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 6 of 22




 I                         MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION
 J            Pursuant to Federal Rule of Civil Procedure23(e) and the Court's Order granting

 4   preliminary approval of the proposed settlement (Docket No. 1333), Direct Purchaser Class

 5   Plaintifß ("Plaintiffs") submit this memorandum in support of final approval of the Class

 6   settlement ("Settlement") reached with Panasonic Corporation (flWa Matsushita Electric Industrial

 7   Co., Ltd.), Panasonic Corporation of North America, and MT Picture Display Co., Ltd.,

 8   (collectively, "Panasonic" or "Settling Defendant"). The Settlement also releases Defendant

 9   Beijing Matsushita Color CRT Co., Ltd. ("BMCC").

10            The settlement provides for payment to the class in the amount of $17,500,000 for a

l1   complete release of all class members' antitrust claims. Saveri Decl., Ex. 1. Panasonic has also

12   agreed to cooperate with the Plaintiffs in providing certain information regarding the allegations of

13   the complaint. Id. (Settlement Agreementn2Ð. In addition, the sales of Panasonic and BMCC

t4   remain in the case for the purpose of computing damages against the remaining non-settling

15   Defendants. Saveri Decl., !l 18.

I6            On August 27,2012, the Court certified the Settlement Class and preliminarily approved

T7   the Panasonic Settlement. (Docket No. 1333). In addition, the Court: 1) ordered that class

18   members be provided notice of the Settlement;2) sef October 25,2012 as the date for class

t9   members to opt-out of the Settlement Class or object to the Settlement; and 3) set December 17,

20   2012 as the date for the hearing on final approval of the Settlement. See id.

2I            There are no objections to the Settlement. Sherwood Decl. fl 10.

22            Direct Purchaser Plaintifß respectfully request the Court grant final approval of the

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^1   Settlement on the grounds that it is fair, adequate and reasonable to the class.

24   il.      FACTUAL AND PROCEDURAL HISTORY
25            This multidistrict litigation arises from an alleged conspiracy to fix prices of Cathode Ray

26   Tubes ("CRTs"). In November of 200J, the first direct purchaser plaintiff filed a class action

27   complaint on behalf of itself and all others similarly situated alleging a violation of section one of

28   the Sherman Act, 15 U.S.C. $ l, and section four of the Clayton Act, l5 U.S.C. $ 15. Thereafter,
                                                         1
          DIRECT PURCHASER PlArNrrFiirtrrX$tä"^åilîi'ttril?ii#-ï"?:åts ACTI.N SETTLEMENT
        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 7 of 22




 I   additional actions were filed in other jurisdictions, and the Judicial Panel on Multidistrict Litigation

 2   transferred all related actions to this Court on February 15, 2008. (Docket No. 122). On May 9,
 a
 J   2008, Saveri & Saveri, Inc. was appointed Interim Lead Class Counsel for the nationwide class of

 4   direct purchasers. (Docket No. 282).

 5          On March 16,2009, the Direct Purchaser Plaintiffs filed their Consolidated Amended

 6   Complaint ("CAC") alleging an over-arching horizontal conspiracy among the Defendants and

 7   their co-conspirators to fix prices for CRTs and to allocate markets and customers for the sale of

 8   CRTs in the United States from March l, 1995 through November 25,2007 (the "Class Period").

 9   The Complaint alleges that Plaintiffs and members of the Class are direct purchasers of CRTs

10   andlor CRT Finished Products from defendants and/or their subsidiaries and were injured because

ll   they paid more for CRTs and/or CRT Finished Products than they would have absent Defendants'

12   illegal conspiracy. (Compl. ffi213-221). Plaintiffs seek, among other things, treble damages

13   pursuant to Section 4 of the Clayton Act, 15 U.S.C. $$ 15 and 22. (Compl., Prayer for Relief).

t4          Defendants filed several motions to dismiss the CAC on May 18,2009. (See Docket Nos.

15   463493). On February 5,2010 this court issued its rulings denying in part and granting in part
t6   Defendants' motions to dismiss (Report, Recommendations and Tentative Rulings regarding

t7   Defendants' Motions to Dismiss, Docket No. 597). After an objection by Defendants, Judge Conti

18   on March 30, 2010 entered an order approving and adopting Judge Legge's previous ruling and

19   recommendations. (Docket No. 665). On April 29,2010, Defendants answered the CAC.

20          Thereafter, in May 2070, certain Defendants propounded interrogatories requesting

2T   Plaintiffs to identiff what evidence they had about the existence of a conspiracy to fix the prices of

22   CRT Products at the time they filed their complaints. Plaintiffs objected to these interrogatories as,

ZJ   among other things, premature "contention" interrogatories. Defendants moved to compel

24   answers. On November 18, 2010, after a hearing, the Special Master ordered Plaintiffs' to answer

25   the interrogatories. (Report and Recommendations Regarding Discovery Motions, Docket No.

26   810). On December 8,2010, the court adopted the Special Master's Report and Recommendation.

27   (Order Adopting Special Master's Report, Recommendation, and Tentative Rulings Regarding

28   Discovery Motions, Docket No. 826). On January 3I,201I , Plaintiffs answered Defendants'
                                                        L

       DIRECT PURCHASE*      n'o'ilTïlii'ü:X$'tìi:ilîi't"Tl?ii'?-?i-?'-S's AcrIoN SErrLEMENr
        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 8 of 22



 I   interrogatories.

 2           On March 21,201l, certain defendants moved for sanctions pursuant to Federal Rule of

 J   Civil Procedure 1 I on the grounds that the allegations of a finished product conspiracy were

 4   without foundation and should be stricken from the complaint. (Certain Defendants' Motion for

 5   Sanctions Pursuant to Rule I l, Docket No. 880). On June 15,2011, after a hearing, the Special

 6   Master recommended that the motion be granted and that Plaintiffs' allegations of a finished

     products conspiracy be stricken from the complaint. (Special Master Report and Recommendations

 I   on Motions Regarding Finished Products, Docket No. 947). The Special Master also

 9   recommended that "the issue of the possible impact or effect of the alleged fixing of prices of the

10   CRTs on the prices of Finished Products shall remain in the case, and is a proper subject of

11   discovery." Id. at p. 14.

t2           On June 29,2011, Defendants moved the Court to adopt the Special Master's Report and

l3   Recommendation. (Motion to Adopt Special Master's Report and Recommendation Regarding

T4   Finished Products, Docket No. 953). Plaintiffs' f,rled an objection to the Special Master's Report

15   and Recommendation. (Direct Purchaser Plaintiffs' Objection to Report and Recommendation on

16   Motions Regarding Finished Products, Docket No. 957). The Court set the matter for hearing on

t7   September 2, 2071. (Docket No. 968).

18          On August 26,2011, before the hearing on the Special Master's Report and

19   Recommendations Regarding Finished Products, the parties entered into a stipulation providing,

20   among other things: 1) that the Special Master's recommended finding that Plaintifß violated Rule

2T   11 be vacated;2) that certain other aspects of the Special Master's recommendations be adopted;

22   and 3) that Plaintiffs' "allegations of the Direct CAC purporting to allege a conspiracy
1a
¿)   encompassing Finished Products are Stricken from the Direct CAC, provided, however, that the

24   issue of the possible impact or effect of the alleged fixing of prices of CRTs on the prices of

25   Finished Products shall remain in the case." In addition, Plaintiffs agreed to withdraw "all

26   discovery requests regarding or relating to information in support of the CRT Finished Product

27   Conspiracy claims," and that "the issue of the purported impact or effect of the alleged fixing of

28   prices of the CRTs on the prices of the Finished P,roducts shall remain in the case and is a proper
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 9 of 22




 I   subject of discovery." (Stipulation and Order Concerning Pending Motions Re: Finished Products,

 2   Docket No. 996).
 a
 J           On December 12,2011, Defendants filed a joint motion for Summary Judgment against

 4   Direct Purchaser Plaintiffs who purchased CRT Finished Products. (Docket No. 1013). On

 5   February 24,2072, Plaintiffs filed their Memorandum of Points and Authorities In Opposition to

 6   Defendants' Motion For Partial Summary Judgment and supporting Declaration of R. Alexander

 7   Saveri under seal. (Docket No. 1057). The same day, the Direct Action Plaintiffs also filed an

 8   opposition to Defendants' motion. On March 9,2012, Defendants filed their Reply In Support of

 9   Motion For Summary Judgment (Docket No. 1083), and on March 20,2012, the Court heard

10   argument. On May 31,2012, the Special Master issued his Report and Recommendation regarding

11   Defendants' Joint Motion For Summary Judgment recommending that the Court grant Defendants'

t2   motion and that judgment be entered against certain plaintiffs that purchased CRT Finished

13   Products from defendants ("R&R"). (Docket No. 1221).

t4           On June 12,2012, the Direct Purchaser Plaintiffs, the Direct Action Plaintiffs, and the

15   Defendants submitted a Stipulation notifuing the Court, inter alia, that Plaintiffs intended to object

T6   to the R&R. (Docket No. 1228). On June 26,2012, the Court issued an order establishing a

t7   briefing schedule requiring all parties to f,rlg their briefs by July 26,2012 and setting a hearing for

l8   August 10,2012. (Docket No. 1240). On June 28,2012, the Court vacated the hearing. (Docket

19   No. 1243). The parties filed their briefs as ordered. On September 24,2012, the Court reset the

20   matter for hearing on December 7,2012.

2l          In September of 2008, the first of several stays prohibiting plaintiffs from obtaining merits

22   discovery was entered by this Court. (Docket Nos. 379, 425, and 590). On June 4, 2008, Plaintiffs'

¿J
^a   propounded their First Set of Limited Document Requests. Thereafter, on March 12,2010, after

24   the partial stay of discovery was lifted, Plaintiffs propounded their Second Set of Document

25   Requests and First Set of Interrogatories. After extensive meet and confers and several motions to

26   compel, the Court issued its Report Regarding Case Management Conference No. 4 on Ocfober 27 ,

27   2011 setting the middle of December,2011 as the deadline for the completion of substantial

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                                                  .     ,o

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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 10 of 22




 I   discovery by all parties. (Docket Nos. 1007, 1008). Plaintiffs have now received over 5 million

 2   pages of documents produced by Defendants.
 a
 J          On March 19,2012, the Special Master issued the Scheduling Order and Order Re

 4   Discovery and Case Management Protocol. (Docket Nos. 1093, 1094). The Court entered both

 5   Orders on April 3,2012. (Docket Nos. 1 I27,1128). The Scheduling Order set August 30, 2013 as

 6   the date for completion of all fact and expert discovery. Beginning in June of 2012, after meeting

     and conferring with Defendants regarding the scope and topics of 30(b)(6) witnesses, Plaintiffs

 8   began taking 30(bX6) depositions of the various Defendants. To date, in coordination with the

 9   indirect purchasers, the Attomeys' General, and the opt-out plaintiffs, Plaintiffs have deposed

10   approximately twenty-five corporate repres entatives.

1t          On October 19,2012, the Court granted final approval of the first two settlements reached

12   in this case with: (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn.

l3   Bhd. ("CPT"), and (2) Koninklijke Philips Electronics N.V., Philips Electronics North America

t4   Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips Da Amazonia Industria

15   Electronica Ltda. (collectively, "Philips"), The Court certified a Settlement Class for the CPT and

T6   Philips settlements, appointed Plaintiffs' Interim Lead Counsel as Settlement Class Counsel, and

T7   found that the manner and form of providing notice of the settlements to class members was the

l8   best notice practicable under the circumstances. (Docket No. l4l2).

t9          On August 27,2012, the Court preliminarily approved the settlement before the Court. The

20   Court certified a Settlement Class for the Settlement, appointed Plaintiffs' Interim Lead Counsel as

2T   Settlement Class Counsel, approved the manner and form of providing notice of the settlement to

22   class members, established a timetable for publishing class notice and set a hearing for final

¿)   approval. (Docket No. I 333).

24          Plaintiffs have hired Gilardi &. Co, LLC ("Gilardi") to serve as the Settlement

25   Administrator. On September 10,2012, Gilardi mailed and e-mailed notice to each class member

26   identified by Defendants. Sherwood Decl.'lT1T4-5. On September 14,2012, Summary Notice was

27   published in The V/all Street Journal. Id, 118. A website was also established at

28                                                       , which contains copies of the Settlement

       DIRECT PURCHASE*     TLAINTIF|î,tr,X$,Iì",*M'*?ï1#.ï-:'.å'S ACTION SETTLEMENT
        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 11 of 22




 1   Agreement, Class Notice and Preliminary Approval Order. Id.n 6. The deadline for objections to

 2   the Settlement or requests for exclusion from the Settlement Class was October 25,2072. Gilardi

 J   received twenty (20) requests for exclusion from the Settlement Class and no objections. Id. fln9,

 4   10.

 5   ilI.    THE TERMS OF THE SETTLEMENT

 6           In exchange for dismissal with prejudice and a release of all claims asserted in the

     Complaint, Panasonic has agreed to pay $17,500,000 in cash. The settlement funds have been paid

 8   and deposited into a separate escrow account for the Direct Purchaser Class. Saveri Decl., 'lJ 17.

 9           In addition to the monetary value, the Settlement provides significant additional benefits to

10   the Class. First, Panasonic has agreed to cooperate with Plaintiffs in the prosecution of this action

11   by providing information relating to the allegations about the multilateral or group CRT competitor

t2   meetings alleged in the Complaint, including l) an attorney proffer by Panasonic's counsel of the

l3   facts known to Panasonic regarding multilateral or group CRT competitor meetings; 2) the

t4   interview and deposition of up to five (5) Panasonic persons with knowledge of multilateral or

l5   group CRT competitor meetings; 3) provision of one or more witnesses for deposition, and, to

r6   provide information with respect to Panasonic's data regarding sales, pricing, production and costs

T]   of its CRT Products, and 4) provision of one or more witnesses to testify regarding the foundation

18   of any Panasonic document or data necessary for summary judgment andior 1;rial. Id.I19.

t9           Second, Panasonic's and BMCC's sales remain in the case for purposes of computing

20   damages against the non-settling defendants. 1d fl 18.

2T           Upon the Settlement becoming final, Plaintiffs and Class members will relinquish any

22   claims they have against Panasonic and BMCC based, in whole or in part, on matters alleged or

¿J   that might have been alleged in this litigation. Saveri Decl., Ex. 1,'lJ 13. The release, however,

24   excludes claims for product defects or personal,ifiwy. Id.

25           The Settlement becomes final upon: (i) the Court's approval of the Settlement pursuant to

26   Rule 23(e) and the entry of a final judgment of dismissal with prejudice as to Panasonic and

27   BMCC; and (ii) the expiration of the time for appeal or, if an appeal is taken, the affirmance of the

28   judgment with no further possibility of appeal. Saveri Decl., Ex. 1, fl 1 1.
                                                        6
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 12 of 22




 I           Subject to the approval and direction of the Court, the Settlement payment will be used to:

 2   (i) make a distribution to Class members in accordance with a proposed plan of allocation to be

 J   approved by the Court (Saveri Decl. Ex. I,l2I); (ii) pay Class Counsel's attorneys' fees, costs,

 4   and expenses as may be awarded by the Court (1d.,8x.1,fln22-23.); and (iii) pay all taxes

 5   associated with any interest earned on the escrow account. Id., n l7(Ð. In addition, the Settlement

 6   provides that $300,000 may be used to pay for Notice costs and future costs incurred in the

 7   administration and distribution of the Settlement payments. Id.,l l9(a).

 8   IV.    ARGUMENT

 9          A class action may not be dismissed, compromised, or settled without the approval of the

10   Court. Judicial proceedings under Federal Rule of Civil Procedure 23 have led to a defined

11   procedure and specific criteria for class action settlement approval. The Rule 23(e) settlement

t2   approval procedure includes three distinct steps:

13           1.     Certification of a settlement class and preliminary approval of the proposed

I4                  settlement;

l5          2.      Dissemination of notice of the settlement to all affected class members; and

16          3.      A formal fairness hearing, also called the final approval hearing, at which class
T7                  members may be heard regarding the settlement, and at which counsel may

18                  introduce evidence and present argument conceming the fairness, adequacy, and

T9                  reasonableness of the settlement.

20   This procedure safeguards class members' due process rights and enables the Court to fulfill its

2T   role as the guardian of class interests. See 4 Albert Conte & Herbert Newberg, Newberg on Class

22   Actions $$ I 1.22, et seq. (4th ed. 2002) ("Newbergl').

ZJ          A.      The Class Action Settlement Class.
24          The Court here completed the first step in the settlement approval process when it granted

25   preliminary approval of the Settlement.

26          The Court certified a Settlement Class consisting of:

27          All persons and entities who, between March I, 1995 and November 25,2007,
            directly purchased a CRT Product in the United States from any defendant or
28          subsidiary or affiliate thereof, or any co-conspirator. Excluded from the Class are

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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 13 of 22



                defendants, their parent companies, subsidiaries and affiliates, any co-conspirator,
 I              all govemmental entities, and any judges or justices assigned to hear any aspect of
                this action.
 2

 J   CRT Products refers to all forms of Cathode Ray Tubes. It includes CPTs, CDTs and the

 4   finished products that contain them - televisions and monitors. (Docket No. 1333).

 5              B.      The Court-Approved Notice Program Satisfies Due Process and Has Been
                        Fully Implemented.
 6

 7              The second step in the settlement process has also been completed. The Court-approved

 8   notice plan has been successfully implemented and class members have been notified of the

 9   Settlement.

10              When a proposed class action settlement is presented for court approval, the Federal Rules

1l   require:
                        the best notice that is practicable under the circumstances, including
t2                      individual notice to all members who can be identified throush reasonable
                        effort. The notice must clearly and concisely state in plain, eãsily
13                      understood language: (i) the nature of the action; (ii) the definition of the
                        class certified; (iii) the class claims, issues, or defenses; (iv) that a class
I4                      member may enter an appearance through counsel if the member so
                        desires; (v) that the court will exclude from the class any member who
l5                      requests exclusion; (vi) the time and manner for requesting exclusion; and
                        (vii) the binding effect of a class judgment on members under Rule
r6                      23(cX3).

17   Fed. R. Civ. P.23(c)(2)(B)

18          A settlement notice is a summary, not a complete source, of information. See, e.g., Petrovic

T9   v. Amoco Oil Co.,200 F.3d I 140, 1 153 (8th Cir. 1999); In re "Agent Orange" Prod. Liability

20   Litig.,818 F.2d 145,170 (2dCir.1987), cert. denied,484 U.S. 1004 (198S); Mangone v. First USA

2l   Bank,206 F.R.D. 222,233 (S.D. Ill. 2001). This circuit requires avery general description of the

22   proposed settlement in such a notice. Churchill Vill. L.L.C. v. Gen. Elec.,36l F.3d 566,575 (9th

23   Cir.2004); Toruisi v. Tucson Elec. Power Co.,8 F.3d 1370, 1375 (9th Cir. 1993); Mendoza v.

24   TucsonSch. Dist. No. 1,623F.2d 1338, 1351 (9thCir. 1980), cert. denied,45OU.S.912(1981).

25          The notice plan approved by this Court is commonly used in class actions like this one and

26   constitutes valid, due and sufficient notice to class members, and constitutes the best notice

27   practicable under the circumstances. The content of the court-approved notices complies with the

28   requirements of Rule 23(c)(2)(b). Both the summary and long-form notices clearly and concisely
                                                            8
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 14 of 22




 I   explained in plain English the nature of the action and the terms of the Settlement. They provided

 2   a clear description of who is a member of the class and the binding effects of class membership.

 J   They explained how to exclude oneself from the class, how to object to the Settlement, how to

 4   obtain copies of papers f,rled in the case and how to contact Class counsel. See Sherwood Decl., Ex.

 5   A, B. The notices also explained that they provided only a summary of the Settlement, that the

 6   settlement agreement was on file with the District Court, and that the settlement agreement was

 7   available online at: www.CRTDirectPurchaserAntitrustSettlement.com. See Sherwood Decl., Ex.

 8   A, B. Consequently every provision of the Settlement was available to each class member.

 9          The notice plan was implemented by the settlement administrator Gilardi & Co. LLC.

t0   Sherwood Decl., fl L Specifically, Gilardi printed and mailed 76,333 notices to class members

ll   through U.S. Mail and electronically mailed notices fo 872 unique electronic mail addresses of

t2   class members. Sherwood Decl., TT 4, 5. Gilardi also published notice in the Friday, September 14,

l3   2012Wall Street Journal. Sherwood Decl., fl 8, Ex. B. Gilardi also maintains the case website, at

t4   which class members can view and print the Class Notice, the Settlement Agreement, and the

l5   Preliminary Approval Order. Sherwood Decl.,'J[6. Gilardi also established a toll-free telephone

16   number to answer Class members' questions in both English and Spanish. Sherwood Decl. fl 7.

T7          The notice plan is substantially identical to the notice plan used for the finally approved

18   CPT and Philips Settlements. Saveri Decl., !f 21.

t9
            C.      The Settlement Is "Fair, Adequate And Reasonable" and Should Be Granted
20                  Final Approval.
21
            The law favors the compromise and settlement of class action suits. See, e.g., Byrd v. Civil
22
     Serv. Comm'n,459 U.S. 1217 (1983); Churchill Village,36l F.3d at576 (9th Cir. 200$;Class
aa
ZJ
     P\aintffi v. City of Seattle,955 F.2d 1268,'1276 (9th Cir. 1gg2). "The decision to approve or
24
     reject a settlement is committed to the sound discretion of the trial judge because he is 'exposed to
25
     the litigation and their strategies, positions and proof."' Hanlon v. Chrysler Corp., 150 F.3d 101 l,
26
     1026 (gth Cir. 1988) (quoting Officers for Justice v. Civil Serv. Comm'n, 688F.2d 615,626 (gth
27
     Cir. 1982)). In exercising such discretion, courts should give "proper deference to the private
28
                                                         9
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       Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 15 of 22




 I   consensual decision of the parties . . . . [T]he court's intrusion upon what is otherwise a private

 2   consensual agreement negotiated between the parties to a lawsuit must be limited to the extent
 a
 J   necessary to reach judgment that the agreement is not the product of fraud or overreaching by, or

 4   collusion between, the negotiating parties, and that the settlement, taken as a whole, is fair,

 5   reasonable and adequate to all concemed." Hanlon, 150 F.3d at 1027 (citation omitted).

 6           It is well established in the Ninth Circuit that "voluntary conciliation and settlement are the

 7   preferred means of dispute resolution." Officers for Justice,688 F.2d at 625. "[T]here is an

 I   overriding public interest in settling and quieting litigation" and this is "particularly true in class

 9   action suits." Van Bronkhorst v. Safeco Corp., 529 F .2d 943, 950 (9th Cir. 197 6); see also Utility

10   Reþrm Project v. Bonneville Power Admin.,869 F.2d 437,443 (9th Cir. 1989). In evaluating a

ll   proposed class action settlement, the Ninth Circuit has recognizedthat:

t2          [T]he universally applied standard is whether the settlement is fundamentally fair,
            adequate and reasonable. The district court's ultimate determination will
13          necessarily involve a balancing of several factors which may include, among
            others, some or all of the following: the strength of plaintiffs'case; the risk,
T4          expense, complexity, and likely duration of further litigation; the risk of
            maintaining class action status throughout the trial; the amount offered in
15          settlement; the extent of discovery compl,eted and the stage of the proceedings;
            the experience and views of counsel; the presence of a governmental participant;
T6          and the reaction of the class members to the proposed settlement.

t7   Officers for Justice,688 F.2d at 625 (citations omifted); accord Torrisi, S F.3d at 1375.

18          The court is entitled to exercise its "sound discretion" when deciding whether to grant final

r9   approval. Ellisv. NavalAir ReworkFacility, STF.R.D. 15, 18 (N.D. Cal. 1980), affd,66lF.2d

20   939 (gth Cir. 1981); Torrisi, S F.3d at 1375. "Where, as here, a proposed class settlement has been

2T   reached after meaningful discovery, after arm's length negotiation, conducted by capable counsel,

22   it is presumptively fah." M. Berenson Co. v. Faneuil Hall Marketplace, Inc.,67I F. Supp. 819,822
¿J   (D. Mass. 1987).

24
                     1.     The Settlement Provides Considerable Relief For The Class.
25
            The consideration for the Settlement is substantial and provides considerable relief for the
26
     class. The Settlement provides for a payment of $ 17,500,000, more than the finally approved
27
     settlement with CPT and Philips. See Saveri Decl., fl 17. The Settlement also compares favorably
28
                                                         10
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 16 of 22




 1   to settlements finally approved in other price-fixing cases. See, e.g., Fisher Bros. v. Mueller Brass

 2   Co.,630 F. Supp. 493,499 (E.D. Pa. 1985) (recoveries equal to .Iyo,.2o/o,zyo,.3yo,.650/0,.88yo,

 J   and2.4%o of defendants' total sales).

 4          Further, the settlement calls for Panasonic to cooperate with Plaintiffs. Saveri Decl., fl 19.

 5   This is a valuable benefit because it will save time, reduce costs, and provide access to information,

 6   witnesses, and documents regarding the CRT conspiracy that might otherwise not be available to

 7   Plaintiffs. See In re Mid-Atlantic Toyota Antitrust Litig.,564 F. Supp. 1379,1386 (D. Md. 1983)

 8   (a defendant's agreement to cooperate with plaintiffs "is an appropriate factor for a court to

 9   consider in approving a settlement"). "The provision of such assistance is a substantial benefit to

10   the classes and strongly militates toward approval of the Settlement Agreement." In re Linerboard

t1   Antitrust Litig.,292F. Supp. 2d 631, 643 (E.D. Pa. 2003). See also In re Mid-Atlantic Toyota

12   Antitrust Litig. , 564 F . Supp. at I 3 86 (concluding that commitment to cooperate is appropriate

l3   factor to consider in approving partial settlement); In re Corrugated Container Antitrust Litig.,

l4   CaseNo. M.D.L. 310, 1981 WL2093,at*16 (S.D. Tex. June 4, 1981) ("The cooperation clauses

l5   constituted a substantial benefit to the class."). In addition, "[i]n complex litigation with a plaintiff

t6   class, 'partial settlements often play avital role in resolving class actions."' Agretti v. ANR Freight

T7   Sys., lnc.,982F.2d242,247 (7th Cir. 1992) (quoting Manual for Complex Litigation Second, $

18   30.46 (1e86)).

T9          Finally, the settlement preserves Plaintiffs' right to litigate against the non-settling

20   defendants for the entire amount of Plaintiffs' damages based on joint and several liability. See

2T   Corrugated Container, 1981 V/L 2093, at * 17; Saveri Decl., fl I 8 (Released claims do not preclude

22   Plaintiffs from pursuing any and all claims against other non-settling defendants for the sales

ZJ   attributable to Panasonic and BMCC).

24                    2.    The Class Members'Positive Reaction Favors Final Approval.
25          There are no objectors to the Settlement and the class's reaction to the proposed settlement

26   supports this Court granting final approval. In determining the fairness and adequacy of a

27   proposed settlement, the Court also should consider "the reaction of the class members to the

28   proposed settlement." Churchill Village,36l F.3d at 575; Hanlon,l50 F.3d at 1026. "Itis
                                                        1l
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 17 of 22



 1   established that the absence of a large number of objections to a proposed class action settlement

 2   raises a strong presumption that the terms of a proposed class settlement action are favorable to the
 a
 J   class members." Nat'l Rural Telecomms. Coop. v. DIRECTV, 1nc.,221 F.R.D. 523,529 (C.D. Cal.

 4   2004); see also,In re Fleet/Norstar Sec. Litig.,935 F. Supp. 99,107 (D.R.L 1996).

 5           Pursuant to the Court's order, approximately 17,205 Class Notices were mailed or

 6   electronically mailed to class members throughout the United States. S¿¿ Sherwood Decl., TT 4, 5.
     'When
             presented with the material financial terms of the proposed settlement, no members of the

 8   class objected to the settlement. Sherwood Decl., fl 10. In addition, only 20 class members opted

 9   out of the class. Se¿ Sherwood Decl., TI4, 5, 10. The reaction of the class to the proposed

10   settlement therefore supports the conclusion that the proposed settlement is fair, adequate and

1l   reasonable. Pallas v. Pac. Bell,No. C-89-2373 DLJ, 1999 WL 1209495, af *8 (N.D. Cal. 1999)

l2   ("The small percentage - less than one perçent - of persons raising objections is a factor weighing

13   in favor of approval of the settlement."); Bynum.v. Dist. of Columbia,4I2 F. Supp. 2d73,77

I4   (D.D.C. 2006) ("The low number of opt outs and objectors (or purported objectors) supports the

15   conclusion that the terms of the settlement were viewed favorably by the overwhelming majority of

t6   class members."); see also,Arnoldv. Arizona Dept. of Pub, Safety,No. CV-01-1463-PHX-LOA,

17   2006 WL 2168637, at * 10 (D. Ariz. July 31,2006); In re Patriot Am. Hospitality Inc. Sec. Litig.,

18   No. MDL C-00-1300 VRW, 2005 WL 3801594, at *2 (N.D. Cal. Nov. 30, 2005). The inference of

T9   class's approval of the settlement is even stronger where, as here, much of the class consists of

20   sophisticated business entities. See Linerboard,32I F. Supp. 2d at 629.

21                   3.      The Settlement Eliminates Significant Risk To The Class.
22           While Plaintiffs believe their case is strong, the settlement eliminates significant risks they

¿J   would face if the action were to proceed. Plaintiffs would bear the burden of establishing liability,

24   impact and damages. See, e.g., L[/al-Mart Stores, Inc. v. Visa U.S.A., únc.,396 F.3d 96,l18 (2d Cir.

25   2005) ("Indeed, the history of antitrust litigation is replete with cases in which antitrust plaintiffs

26   succeeded attrial on liability, but recovered no damages, or only negligible damages, at trial, or on

27   appeal."); Inre NASDAQ Market-Makers Antitrust Litig.,187 F.R.D. 465,475 (S.D.N.Y. 1998); In

28   re sumitomo copper Litig.,l89 F.R.D. 274,283 (S.D.N.Y. 1999). This is an important
                                                         T2
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       Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 18 of 22



 I   consideration because Defendants have vowed to aggressively defend this action. Thus, the

 2   Settlement is in the best interest of the Class because it eliminates the risks of continued litigation,
 a
 J   while at the same time creating a substantial cash recovery and obtaining certain defendants'

 4   cooperation.                                       :




 5          Continued litigation against Defendants also would involve significant additional expenses

 6   and protracted legal battles, which are avoided through the Settlemen| In re Visa

 7   Checlr/Mastermoney Antitrust Litig.,297 F . Supp. 2d 503,5 10 (E.D.N.Y. 2003), aff d 396 F.3d 96

 8   (2d Cir.2005) ("The potential for this complex litigation to result in enormous expense, and to

 9   continue for a long time, was great."); Marisol A. ex rel. Forbes v. Giuliani, 185 F.R.D . 152, 163

t0   (S.D.N.Y. 1999) (noting that trial would last at least five months and require testimony from

1l   numerous witnesses and experts); In re Austrian and German Bank Holocqust Litig.,80 F. Supp.

t2   2d 164, 174 (S.D.N.Y. 2000) ("Most class actions are inherently complex and settlement avoids the

l3   costs, delays and multitude of other problems associated with them.").

t4                  4.      The Settlement Is the Product of Arm-Length Negotiations Between the
                            Parties and The Recommendation of Experienced Counsel Favors
15                          Approval.                   l


16          This class action has been vigorously litigated. Class Counsel has analyzed millions of

t7   documents produced by defendants and others. They have also conducted an independent

l8   investigation of the facts and analyzed Defendants' sales and pricing data.

t9          The negotiations occurred over a span of months and involved telephonic and face to face

20   meetings and the review of industry materials and documents. They were contested and conducted

2l   in the utmost good faith. Saveri Decl., tf 16. Counsel's judgment that the Settlement is fair and

22   reasonable is entitled to great weight. See Nat'l Rural Telcomms. Coop., 221 F.R.D . at 528

¿J
^a   ("'Great weight' is accorded to the recommendation of counsel, who are most closely acquainted

24   with the facts of the underlying litigation."); accord Bellows v. NCO Fin. Sys., 2008 U.S. Dist.

25   LEXIS 103525, at*22 (S.D. Cal. Dec.2,2008); Rutter & Wilbanl$ Corp. v. Shell Oil Co.,3l4
26   F.3d 1180, 1188 (10th Cir.2002);Wilkersonv. MartinMariettaCorp.,lTl F.R.D.273,288-89 (D.

27   Colo. 1997); Officers for Justice,688 F.2d at 625.

28
                                                            13
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 19 of 22




 I           While the Plaintiffs believe they have meritorious claims, Defendants have asserted that

 2   they have strong and valid defenses which would serve to eliminate their liability and/or damage
 a
 J   exposure to the Class. The parties entered into the Settlement to eliminate the burden, and expense

 4   and risks of further litigation.

 5           For all of these reasons, the cash settlement obtained represents an excellent recovery and is

 6   certainly "fair, adequate and reasonable" to the Class. Accordingly, final approval should be

 7   granted.

 8           D.      The Plan of Allocation Is "Fair, Adequate and Reasonable" and Therefore
                     Should Be Approved.
 9

10           The Class Notice, which was disseminated in accordance with the Preliminary Approval

11   Order, outlined the following proposed plan for allocating the settlement proceeds:

t2                   In the future, each Settlement Class member' s p ro rata share of the
                     Settlement Fund will be determined by computing each valid claimant's
13                   total CRT Product purchases divided by the total valid CRT Product
                     purchases claimed. This percentage is multiplied to the Net Settlement
I4                   Fund (total settlements minus all costs, attorneys' fees, and expenses) to
                     determine each claimant's pro rata share of the Settlement Fund. To
15                   determine your CRT Product purchases, CRT tubes (color display and
                     color picture) are calculated at full value (100%) while CRT televisions
T6                   are valued at 50o/o and CRT computer monitors are valued at75%.
                     In summary, all valid claimants will share in the settlement funds on apro
I7                   ratabasis determined by the CRT value of the product you purchased -
                     tubes 100%, monitors 75o/o and televisions 50%.
18

T9   See Sherwood Decl.. Ex. A, at 9.

20
             Although Plaintiffs have proposed deferring the distribution of funds until a later date,
2l
     Plaintiffs have informed the class that any distribution will be made on apro ratabasis. A plan of
22
     allocation of class settlement funds is subject to the "fair, reasonable and adequate" standard that
z)
     applies to approval of class settlements . In re Citric Acid Antitrust Litig., 145 F. Supp. 2d 1152,
24
     1154 (N.ì I. Cal. 2001). A plan of allocation that compensates class members based on the type and
25
     extent of their injuries is generally considered reasonable.In re Computron Software, Inc.,6F.
26
     Supp.2d 3I3,321 (D.N.J. 1998). Here the proposed distribution will be oî apro ratabasis, with no
27
     class member being favored over others. This type of distribution has frequently been determined
28
                                                       14
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        Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 20 of 22



 I   to be fair, adequate, and reasonable. See In re þnamic Random Access Memory (DRAM) Antitrust

 2   Litig., No. M-02-1486 PJH, Dkt. No. 2093, p.2 (Oct. 27,2010) (Order Approving pro Rata
 a
 J   Distribution); In re Vitamins Antitrust Litig., No. 99-197 TFH, 2000 WL 1737867, at *6 (D.D.C.

 4   Mar. 31,2000) ("Settlement distributions, such as this one, that apportions funds according to the

 5   relative amount of damages suffered by class members, have repeatedly been deemed fair and

 6   reasonable )'); In re Lloyds' Am. Trust Fund Litig., No. 96 Civ.1262 RV/S, 2002WL 31663577, at

     * l9 (S.D.N.Y. Nov. 26,2002) ("pro rata allocations provided in
 7                                                                        the Stipulation are not only

 I   reasonable and rational, but appear to be the fairest method of allocating the settlement benefits,");

 9   In re PaineWebber Ltd. P'ships Litig.,171 F.R.D. 104, 135 (S.D.N.Y. 1997) ("pro rata distribution

10   of the Settlement on the basis of Recognized Loss will provide a straightforward and equitable

l1   nexus for allocation and will avoid a costly, speculative and bootless comparison of the merits of

t2   the Class Members' claims").

13          In summary, class members will submit their purchase information for both CRT tubes and

T4   finished products        televisions and monitors containing CRTs. All class members will share in
                          -
15   the settlement funds onapro ratabasis determined by the CRT value of the product they

t6   purchased        tubes I00yo, monitors 75Yo and televisions 50olo.
                  -
17          The proposed plan of allocation is identical to the plan of allocation for the finally approved

18   CPT and Philips settlements. Saveri Decl., fl 21 . Accordingly, the plan of allocation done on a pro

r9   rata basis in the instant case is "fair, adequate and reasonable" to the Class and final approval of

20   the plan of allocation should be granted.

2l   V.     OBJECTIONS BY CLASS MEMBERS
22          As indicated above, there were no objecfions to the Settlement.

¿J   vI.    EXCLUSIONS
24          Class members were advised of the right to be excluded from the Settlement Class, which

25   could be accomplished through mailing a request for exclusion to the Settlement Administrator not

26   later than October 25,2012. Twenty (20) requests for exclusion were received from Class

27   members. Sherwood Decl., fl 9, Ex. C. Panasonic has been provided copies of these requests for

28   exclusion.

       DIRECT PURCHASER PLAINTIFFS, MEMO ISO Tll.T5EI APPRoVAL oF CLASS ACTIoN SETTLEMENT
                           WITH PANASONIC; Master File No. CV-07-5944-SC
       Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 21 of 22



     VII. CONCLUSION
 1

            For the foregoing reasons set forth herein, Plaintiffs respectfully submit that the Court
 2
     should enter an order granting the relief requested by this motion: (i) granting final approval of the
 a
 J
     Settlement; and (ii) granting final judgment and dismissal with prejudice as Panasonic and BMCC.
 4
     Dated: November 26. 2012.                          Respectfully submitted,
 5
                                                        lsl Guido Saveri
 6
                                                        Guido Saveri (22349)
                                                        R. Alexander Saveri (173102)
 7
                                                        Geoffrey C. Rushing (126910)
                                                        Cadio Zirpoli (179108)
 8
                                                        SAVEzu & SAVERI,INC.
                                                        706 Sansome Street
 9
                                                        San Francisco, CA 94IlI
                                                        Telephone: (415) 217 -6810
10
                                                        Facsimile: (415) 217 -6813
11
                                                        Interim Lead Counsel For Plaintifß
12
                                                        Joseph W. Cotchett
                                                        Steven N. Williams
13
                                                        Adam J. Zapala
                                                        COTCHETT, PITRE & McCARTHY, LLP
T4
                                                        840 Malcolm Road
                                                        Burlingame, CA 94010
15
                                                        Telephone: (650) 697 -6000
                                                        Facsimile: (650) 697 -0577
t6
                                                        Bruce L. Simon
I7                                                      Aaron M. Sheanin
                                                        PEARSON, SIMON, WARSHAV/ & PENNY
18
                                                        LLP
                                                        44 Montgomery Street, Suite 2450
19
                                                        San Francisco, CA 94104
                                                        Telephone: (415) 433-9000
20                                                      Facsimile: (415) 433-9008
2T
                                                        H. Laddie Montague, Jr.
                                                        Ruthanne Gordon
22
                                                        Charles P. Goodwin
                                                        Candice Enders
z)                                                      BERGER & MONTAGUE, P.C.
                                                        1622Locust Street
24
                                                        Philadelphia, PA 19103
                                                        Telephone: (800) 424 -6690
25
                                                        Facsimile: (215) 87 5-4604
26
                                                        Michael P. Lehmann
                                                        HAUSFELD LLP
27
                                                        44 Montgomery Street, Suite 3400
                                                        San Francisco, CA 94104
28
                                                       t6
       DIRECT PURCHASERPLAINTIFFS'MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                         V/ITH PANASONIC; Master File No, CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 1464 Filed 11/26/12 Page 22 of 22



                                            Telephone: (41 5) 633-1 908
 I                                          Facsimile: (415) 358-4980
 2                                          Gary Specks
 a
                                            KAPLAN FOX
 J                                          423 Sumac Road
                                            Highland Park, IL 60035
 4                                          Telephone: (847) 83 1 -l 585
                                            Facsimile: (847) 83 1 -1 580
 5
                                            Douglas A. Millen
 6                                          William H. London
                                            FREED KANNER LONDON & MILLEN
 7                                          2201Waukegan Road
                                            Suite 130
 8                                          Bannockburn, IL 60015
                                            Telephone : (224) 632-45 00
 9                                          Facsimile : (224) 632-45 19

10                                          Eric B. Fastiff
                                            LIEFF CABRASER HEIMANN &
11                                          BERNSTEIN, LLP
                                            275 BaÍtery Street, 29th Floor
T2                                          San Francisco, CA 94111-3339
                                            Telephone: (41 5) 956-1000
13                                          Facsimile: (41 5) 956-l 008

14                                          V/. Joseph Bruckner
                                            Elizabeth R. Odette
15                                          LOCKRIDGE GRINDAL NAUEN P.L.L.P
                                            100 Washington Avenue S
l6                                          Suite 2200
                                            Minneapolis, MN 55401
t7                                          Telephone: (612) 339-6900
                                            Facsimile: (612) 339-098 1
18
                                            Attorneys for Plaintffi
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¿J

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     DIRECT PURCHASER PLAINTIFFS'MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                         WITH PANASONIC: Master File No. CV-07-5944-SC
